          Case 2:21-cr-00091-TOR                ECF No. 62               filed 12/01/21              PageID.183 Page 1 of 2
O PS 8
(3/15)


                               UNITED STATES DISTRICT COURT                                                              FILED IN THE
                                                                                                                     U.S. DISTRICT COURT
                                                                                                               EASTERN DISTRICT OF WASHINGTON


                                                                        for
                                                                                                                Dec 01, 2021
                                               Eastern District of Washington                                       SEAN F. MCAVOY, CLERK




U.S.A. vs.                     Allen, Reigan Rae                                        Docket No.             0980 2:21CR00091-TOR-2


                                 Petition for Action on Conditions of Pretrial Release

        COMES NOW Corey M. McCain, PRETRIAL SERVICES OFFICER, presenting an official report upon the
conduct of defendant Reigan Rae Allen, who was placed under pretrial release supervision by the Honorable U.S. Magistrate
Judge John T. Rodgers, sitting in the Court at Spokane, Washington, on the 9th day of August 2021 and again on the 23rd
of September 2021, under additional conditions:

Condition #25: Defendant shall immediately enter into and successfully complete an inpatient treatment program. Pretrial
Services will monitor Defendant while in treatment. Defendant shall comply with all directives of the U.S. Probation
Officer. Prior to commencing any evaluation or treatment program, Defendant shall provide waivers of confidentiality
permitting the United States Probation Office and the treatment provider to exchange without qualification, in any form and
at any time, and all information or records related to the Defendant's conditions of release and supervision, and evaluation,
treatment, and performance in the program. It shall be responsible of defense counsel to provide such waivers. If the
Defendant terminates any treatment program before it is completed, the treatment provider and defendant shall immediately
notify the U.S. Probation Officer, and Defendant shall immediately return to custody of the U.S. Marshal.

RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:
                                      (If short insert here; if lengthy write on separate sheet and attach.)


Violation #1: It is alleged that Ms. Allen violated her conditions of pretrial release by being unsuccessfully discharged from
inpatient treatment at the Isabella House, on or about November 29, 2021.

On September 28, 2021, the defendant motioned the Court to release from custody and enter into inpatient treatment and
successfully complete inpatient treatment. The Court granted the defendant's request.

On October 8, 2021, the undersigned reviewed the order granting Ms. Allen to participate in and successfully complete
inpatient treatment, including condition number 25 (ECF. 53). Ms. Allen signed her conditions acknowledging an
understanding of her conditions of pretrial release.

On September 29, 2021, Ms. Allen released from custody and entered into residential inpatient treatment at the Isabella
House in Spokane, Washington. On November 28, 2021, the undersigned officer received a voice mail from Ms. Allen's
counselor at th Isabella House, to include a followup call with Ms. Allen's counselor on November 29, 2021. She advised
that Ms. Allen had overdosed on suspected fentynal on November 28, 2021, while at the Isabella House. She had to be
revived by Narcan and was taken to the hospital by ambulance. It was alleged that Ms. Allen had hidden fentynal pills in
their facility. Due to the behavior by Ms. Allen, she was unsuccessfully discharged from inpatient treatment. Ms. Allen
has not made any effort to contact the undersigned officer and her whereabouts is unknown.

                             PRAYING THAT THE COURT WILL ORDER A WARRANT
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  Re: Allen, Reigan Rae
  November 30, 2021
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                                                                      I declare under the penalty of perjury
                                                                      that the foregoing is true and correct.
                                                                      Executed on:       November 30, 2021
                                                            by        s/Corey M. McCain
                                                                      Corey M. McCain
                                                                      U.S. Pretrial Services Officer


THE COURT ORDERS

[ ]      No Action
[X ]     The Issuance of a Warrant
[ ]      The Issuance of a Summons
[ ]      The incorporation of the violation(s) contained in this
         petition with the other violations pending before the
         Court.
[ ]      Defendant to appear before the Judge assigned to the case.
[ ]      Defendant to appear before the Magistrate Judge.
[ ]      Other


                                                                        Signature of Judicial Officer
                                                                          12/1/21

                                                                        Date
